                Case 2:19-cv-00538-JCC Document 74 Filed 08/28/20 Page 1 of 2




                                                     THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    KAREN D. SMITH,                                    CASE NO. C19-0538-JCC
10                           Plaintiff,                  MINUTE ORDER
11              v.

12    THE BANK OF NEW YORK MELLON, et al.,

13                           Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court pursuant to the parties’ stipulated motion to continue
18   the trial date and remaining case deadlines (Dkt. No. 73). The Court finds good cause for the
19   request and hereby GRANTS the motion and ORDERS that trial shall be continued to August 9,
20   2021 at 9:30 a.m. The Court further ORDERS the remaining deadlines in this case are reset as
21   follows:
22                   CASE EVENT                                        DEADLINE
23    Trial Briefs                                     8/5/2021
24    Proposed Voir Dire/Jury Instructions             8/5/2021
25    Proposed Pretrial Order LCR 16(e)                7/30/2021
26    Plaintiff’s Pretrial Statement LCR 16(h)         6/18/2021

     MINUTE ORDER
     C19-0538-JCC
     PAGE - 1
             Case 2:19-cv-00538-JCC Document 74 Filed 08/28/20 Page 2 of 2




 1   Defendant’s Pretrial Statement LCR 16(i)    6/28/2021
 2   LCR 39.1 ADR Deadline                       4/27/2021
 3   Dispositive Motion Deadline                 5/11/2021
 4   Discovery Cutoff                            4/12/2021
 5   Disclosure of Expert Testimony Under FRCP
     26(a)(2) due                                1/4/2021
 6

 7
           DATED this 28th day of August 2020.
 8
                                                     William M. McCool
 9                                                   Clerk of Court

10                                                   s/Tomas Hernandez
                                                     Deputy Clerk
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     MINUTE ORDER
     C19-0538-JCC
     PAGE - 2
